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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
In re: Case No. 3:16-bk-2230-PMG
RMS Titanic, Inc., et al., Chapter ll
Debtor.

 

ORDER ON I-IEARING TO CONSIDER DEBTOR’S SALE MOTION
AND DISCLOSURE STATEMENTS FILED BY THE EQUITY COMl\/IITTEE
AND THE UNSECURED CREDITORS’ COMMITTEE

THIS CASE came before the Court for hearing on August 30, 2018, to consider: (l) the
Debtor’s Motion for Approval of Cornpetitive Bidding Procedures and Asset Purchase Agreement;
(2) the adequacy of the Disclosure Statement filed by the Ofiicial Committee of Equity Security
I-Iolders; and (3) the adequacy of the Disclosure Statement filed by the Official Cornmittee of
Unsecured Creditors. (Doc. 1147).

A. The Debtor’s presentation

At the hearing, the Debtor announced that it had reached an agreement With its primary
unsecured creditor, 417 Fifth Ave. Real Estate, LLC. According to the announced agreement (1)
the Stalking Horse Purchaser under the Debtor’s proposed sale would increase the sale price from
317.5 million to $l9.5 million; (2) the Stalking Horse Purchaser’s breakup fee would be increased
from 51 million to $l .5 million; and (3) the creditor Would support the sale.

Based on the agreement, the Debtor asked the Court to shorten the dates under its Bid

Procedures (1) to require the submission of bids by September 17, 2018 and (2) to schedule the

auction and hearing for approval of the sale for September 20, 2018.

 

 

 

 

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Finally, the Debtor asserted that the Equity Committee’s Plan was unconfn'mable because it lacked
both creditor acceptance and adequate funding, and therefore asked the Court to disapprove the
Equity Committee’s Disclosure Statement.

B. The Debtor’s Bid Procedures and the Equity Committee’s Disclosure Statement

The Court has considered the record, and finds that the Competitive Bidding Procedures and
Asset Purchase Agreement proposed by the Debtor should proceed under the provisions of Chapter
11.‘

The Amended Disclosure Statement filed by the Ofiicial Committee of Equity Security Holders
will not be approved because it does not support a plan that is contirmable. The Court reaches this
decision for the following reasons:

First, the Court is mindful ot`: (l) the jurisdiction and role of the United States District Court for
the Eastem District of Virginia with respect to the Titanic artifacts; (2) the application of the
Covenants and Conditions for the Future Disposition of Objects Recovered from the RMS Titanic;
and (3) the interest of the District Court and the covenants and conditions in maintaining the
integrity of the Titanic collection. In other words, this Court favors a process that is likely to
facilitate the District Court’S administration ot` the Titanic artifacts that will result in a sale that may
be approved by the District Court.

Second, the core and most important issue raised by the objections to the Equity Committee’s
Amended Disclosure Statement is whether it accompanies a plan that cannot be confirmed
“The statutory definition of ‘adequate infonnation’ leaves the bankruptcy court wide discretion to
determine on a case by case basis Whether a disclosure statement contains adequate information.” _In

re R&G Properties, lnc,, No. 08-]0876, 2009 WL 2043873, at *3 (Bankr. D. Vt. July 6, 2009). AS

1 The dates under the Debtor’s Bid Procedures shall be changed to correspond with the date for the Sale Hearing.

 

 

 

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the court in M_G_Bl;qp_erti§s,_ln_c_. found, it is appropriate to “avoid a costly and futile solicitation
process” if a disclosure statement accompanies a plan that cannot be confirmed l_d__.; §§g“a`l_sg m
l£t_:lL, 53 B.R. 768, 769-770 (Bankr. E.D. Va. 1985) (“Submitting the debtor to the attendant
expense of soliciting votes and seeking court approval on a clearly fruitless venture wouid be costly
and it would delay any possibility of a successful reorganization.”)

The Equity Committee’s Disclosure Statement accompanies a Plan Where continuation
depends upon whether the sale of a small number of artifacts from the French Collection can be
approved by the District Court, without violating the Covenants and Conditions Order of the District
Court. Based on the representations at the hearing, the Equity Committee’s Plan lacks both creditor
acceptance and adequate funding Specifically, 411r Fifth Ave, Real Estate, LLC, the Debtor’s
primary unsecured creditor, who has a blocking position to plan confinnation, announced at the
hearing that it Supported the Debtor’s Motion for Approval of Competitive Bidding Procedures and
Asset Purchase Agreement, and that it would oppose the Equity Committee’s Plan. At the
conclusion of the hearing, counsel for the Unsecured Creditors" Committee also stated that the
committee would not support the Equity Committee’s Plan. General unsecured claims are classified
as an impaired class in the Equity Committee’s Plan. (Doc. 1180 p. 12). Therefore, there is no clear
path towards confirmation, because based upon the representations made at the hearing, the plan will
not have an impaired accepting class.

For these reasons, the Court determines that the Equity Committee has not sustained its burden
of setting forth adequate infonnation, and the Amended Disclosure Statement fails to satisfy the
adequate information standard of ll U.S.C. § 1125 because it accompanies a Plan that cannot be

confirmed pursuant to ll U.S.C. § 1129.

 

 

 

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C. The Disclosure Statement of the Museum Plan Sponsors

After the hearing, the Trustees of the National Maritirne Museum (“NMM”) asked the Court to
hold in abeyance the Disclosure Statement and Plan filed by the Official Committee of Unsecured
Creditors, NMM, the Board of Trustees of the Museums and Galleries of Northem lreland, and
Running Subway Productions, LLC, until further order of Court. (Doc. 1193).

Upon the foregoing, it is

ORDERED:

l. The Debtor’s Competitive Bidding Procedures and Asset Purchase Agreement are approved
in part. The Debtor may submit a proposed Order approving Competitive Bidding Procedures and
Asset Purchase Agreernent, which schedules a Sale Hearing for October 18, 2018, at 10 0’clock
a.m., and which contains other dates in the Bidding Procedures that correspond to the Sale Hearing.

2. The Arnended Disclosure Staternent filed by the Official Committee of Equity Security
Holders is not approved

3. The Disclosure Statement filed by the Official Committee of Unsecured Creditors and

Museum Plan Sponsors is held in abeyance

DATEDthiS // dayofi §i§é€/h@/ ,2018.

BY THE COURT

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PAUL M. GLENN
United States Bankruptcy Judge

 

 

